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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF TEXAS

In re: Chapter 7
J & D Reliable Trucking, Inc, Bky. No. 18-44927
Debtor(s)
STATE OF TEXAS )
) ss.
COUNTY OF TARRANT ) AFFIDAVIT

I, Brandi Brown, a Bankruptcy Specialist of Santander Consumer USA Inc. dba Chrysler Capital,
declare under penalty of perjury that I have personal knowledge of the information set forth below, which
is true and correct'to the best of my knowledge, information, and belief.

l. This affidavit is based on the loan payment records of Santander Consumer USA Inc. dba
Chrysler Capital as of January 24, 2019. These records are regularly maintained in the course of business
and it is the regular practice to make and maintain these records. These records reflect the loan payments
that are noted in the records at the time of receipt by persons whose regular duties include recording this
information. I maintain these records and regularly use and rely upon them in the performance of my
duties.

2. Santander Consumer USA Inc. dba Chrysler Capital has a valid, perfected security interest
in the following (the “Collateral”): 2014 RAM 2500, VIN: 3C6UR4CL8EG133670 .

Be $15,990.74 is the outstanding balance under the contract.

4. $5,346.30 is the amount of the existing delinquency under the contract.
5; $19,800.00 is the fair market value of the Collateral.

6. No appropriate insurance has been verified.

Further your affiant sayeth not.

 

Date: January 29, 2019 kK / jb
ipl (ALLL
Subscribed and sworn to before me on Bréndi Brown
January 29, 2019. Bankruptcy Specialist

Santander Consumer USA Inc. dba
Chrysler Capital

  
